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     UNITED STATES DISTRICT COURT

     NORTHERN DISTRICT OF TEXAS

        Dr. Michael Moates              Case No.: 4:23-cv-00772
             Plaintiff

                v.
                                        JURY TRIAL DEMANDED
   STATE OF NORTH CAROLINA,

        STATE OF TEXAS,

    STATE OF VIRGINIA, AND

       STATE OF NEVADA

            Defendants




 PLAINTIFF’S MOTION FOR ENTRY

OF DEFAULT AGAINST DEFENDANT

 STATE OF NORTH CAROLINA AND

  DEFENDANT STATE OF VIRGINIA
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TO THE HONORABLE JUDGE OF SAID COURT:



COMES NOW, Dr. Michael Moates, Plaintiff in the above-entitled and numbered cause,

and respectfully moves this Court for an Entry of Default against Defendant, State of

North Carolina, and for a Default Judgment against Defendant, Commonwealth of

Virginia, and in support thereof would show the following:



Service of Process:



On August 7th, 2023, Defendant, State of North Carolina, was duly served with the

Summons and Complaint in this matter.



On August 9th, 2023, Defendant, Commonwealth of Virginia, was duly served with the

Summons and Complaint in this matter.



Pursuant to FRCP, a summons and complaint may be served by “following state law for

serving a summons in an action brought in courts of general jurisdiction in the state

where the district court is located or where service is made.”



Under the TCRP, a summons may be served by “mailing to the defendant by registered

or certified mail, return receipt requested, a copy of the citation and of the petition.” Rule

106 - Method of Service, Tex. R. Civ. P. 106




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True and correct copies of the Proofs of Service are attached hereto as Exhibit A and

Exhibit B, respectively.



Time to Answer: More than 21 days have elapsed since the Defendants were served

with the Summons and Complaint, which is the time period prescribed by the Federal

Rules of Civil Procedure for a defendant to answer or otherwise respond to a complaint.



Failure to Answer or Respond: To date, neither Defendant has answered nor otherwise

responded to the Complaint, nor sought an extension of time to do so.



Previous Default: A previous request for entry of default was made against another

defendant, State of Nevada, on August 29th, 2023.



No request for entry of default or default judgment has been made against the State of

North Carolina or the Commonwealth of Virginia in this case.



WHEREFORE, Plaintiff respectfully requests that the Clerk of this Court:



   -   Enter a default against Defendant, State of North Carolina, for its failure to

       answer or otherwise respond to the Complaint.

   -   Enter a default judgment against Defendant, Commonwealth of Virginia, for its

       failure to answer or otherwise respond to the Complaint.




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   -   Plaintiff further seeks such other and further relief as the Court deems just and

       proper.



/s/ Dr. Michael Moates

4501 Nautilus Circle #710

Fort Worth, Texas

254-966-2837

mike@cpmht.com




CERTIFICATE OF SERVICE

I hereby certify that on 29 August 2023, a true and correct copy of the foregoing Motion

for Entry of Default was served on all counsel of record via Electronic Filing System.



Respectfully submitted,



/s/ Dr. Michael Moates

4501 Nautilus Circle #710

Fort Worth, Texas

254-966-2837

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Exhibit A




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EXHIBIT B




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